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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:15-cr-00233-DAD-BAM
12                                Plaintiff,               STIPULATION AND ORDER
                                                           RE RESTITUTION
13   v.
                                                           JUDGE: Hon. Dale A. Drozd
14   VICTOR HUGO SORIANO-VILLAFAN,
15                                Defendant.
16
                                               STIPULATION
17

18          The United States of America, by and through its counsel of record, and defendant, by and

19 through his counsel of record, hereby stipulate as follows:
20          1.      The defendant was sentenced by the Court on February 1, 2017, following conviction

21 after a guilty plea to one count of conspiracy to commit mail fraud (18 U.S.C. § 1349).

22          2.      At sentencing, the government submitted a calculation of the restitution amount to the

23 Court, comprising false insurance claims paid out in connection with the defendant’s conviction.

24 Following the hearing, the government discovered additional corrections to be made to the

25 restitution amount, resulting in a final restitution calculation of $695,674.39. The corrections and
26 underlying calculations have been submitted and reviewed by defense counsel in order to submit this

27 stipulation and proposed order.

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 1          3.     The parties have reached this agreement and stipulation as to the restitution amount

 2 owed by the defendant, as set forth below. The parties therefore jointly request that the agreed

 3 restitution be incorporated into the judgment following sentencing.

 4          4.     The parties agree and stipulate, and request that the Court find the following:

 5          a.     The total amount of restitution owed by defendant Soriano-Villafan is set forth in

 6 Attachment A to this stipulation. Attachment A describes the total amount of restitution and the

 7 apportionment of restitution among defendant Soriano-Villafan’s victims in this case.

 8          b.     Defendant Soriano-Villafan agrees that the judgment and commitment issued in his

 9 case will include the restitution amounts and apportionment agreed to in Attachment A.

10          c.     Restitution as stated in Attachment A shall be due during the period of imprisonment,

11 at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial

12 Responsibility Program. The interest is waived.

13

14 IT IS SO STIPULATED.

15 DATED:          February 2, 2017
                                          /s/ Henry Z. Carbajal III
16
                                          HENRY Z. CARBAJAL III
17                                        Assistant United States Attorney

18 DATED:          February 2, 2017
                                          /s/Megan T. Hopkins
19                                        MEGAN T. HOPKINS
                                          Counsel for Defendant
20                                        VICTOR HUGO SORIANO-VILLAFAN

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22 IT IS SO ORDERED.

23      Dated:     February 2, 2017
                                                      UNITED STATES DISTRICT JUDGE
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             ATTACHMENT A: U.S. v. Soriano-Villafan, 15-cr-233-DAD
                  Restitution Amounts and Payee Information

                                Restitution       Joint and Several Liability (If
 Victim Name and Address
                                 Amount                     Applicable)
   Access General Insurance                   Joint and Several with Co-defendants
            Company                         Sanchez-Becerra and Oscar Diaz Landa, up
                                 $84,273.27
    3 Ravinia Drive, Ste 400                to their respective restitution amounts.
       Atlanta, GA 30346
     Affirmative Insurance                    N/A
  P.O. Box 9041, Addison, TX     $14,152.02
              75001
       Allstate Insurance                     Joint and Several with Co-defendants
 10100 Trinity Parkway, #200    $10,890.35 Sanchez-Becerra and Oscar Diaz Landa, up
      Stockton, CA 95219                    to their respective restitution amounts.
       Explorer Insurance                     Joint and Several with Co-defendants
 P.O. Box 906, Santa Clarita,   $35,494.87 Sanchez-Becerra and Oscar Diaz Landa, up
            CA 91380                        to their respective restitution amounts.
       Farmers Insurance                      Joint and Several with Co-defendant
1190 Saratoga Ave., Suite 200   $109,053.25 Oscar Diaz Landa, up to his respective
      San Jose, CA 95129                    restitution amount.
                                              Joint and Several with Co-defendants
          GEICO
                                            Sanchez-Becerra, Oscar Diaz Landa and
   712 Bancroft Rd. #280        $128,143.99
                                            Alfonso Apu, up to their respective
  Walnut Creek, CA 94598
                                            restitution amounts.
 Infinity Insurance Company                   Joint and Several with Co-defendants
  13340 183rd St Suite 100      $32,327.06 Sanchez-Becerra and Oscar Diaz Landa, up
      Cerritos, CA 90703                    to their respective restitution amounts.
   Kemper Services Group                      N/A
  603 Seagaze Drive #794        $25,826.38
     Oceanside, CA 92054
     Nationwide Insurance                     Joint and Several with Co-defendants
   Three Nationwide Plaza,      $18,125.99 Oscar Diaz Landa and Alfonso Apu, up to
     Columbus, OH 43215                     their respective restitution amounts.
    Progressive Insurance                     Joint and Several with Co-defendant
2860 North Main Street Suite    $57,602.52 Alfonso Apu, up to his respective
150, Walnut Creek, CA 94597                 restitution amount.
       Sentry Insurance                       Joint and Several with Co-defendant
   9060 E. Via Linda Blvd,      $36,001.13 Oscar Diaz Landa, up to his respective
     Scottsdale, AZ 85258                   restitution amount.
    State Farm Insurance                      Joint and Several with Co-defendants
        P.O. Box 52257          $124,655.16 Sanchez-Becerra and Oscar Diaz Landa, up
  Phoenix, AZ 85072-2257                    to their respective restitution amounts.
 Western General Insurance                    N/A
  5230 Las Virgenes Road,       $19,128.40
     Calabasas, CA 91302
           Total                $695,674.39
